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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

  In re:                                                      §           Case No. 25-90001-mxm11
                                                              §
  SCANROCK OIL & GAS, INC., et al,                            §           U.S. Bankruptcy Court for the
                                                              §           Northern District of Texas, Fort Worth
           Debtors.1                                          §           Division
                                                              §
                                                              §           (Chapter 11)
                                                                          Jointly Administered

      WELL CASTLE LIMITED,                                     §
                                                               §    ADVERSARY PROCEEDING
            Plaintiff,                                         §    NO: 25-01020-cgb
                                                               §
      v.                                                       §
                                                               §
      RYAN DRILLING, LLC,                                      §    Removed from the 385th Judicial
      INDIVIDUALLY AND d/b/a                                   §    District Court for Midland County Texas,
      O’RYAN DRILLING; O’RYAN                                  §    Cause No. CV55526
      HEAVY HAUL, LLC; O’RYAN
      FAMILY LIMITED PARTNERSHIP;
      RYAN C. HOERAUF, INC. d/b/a
      O’RYAN OIL & GAS; RYAN C.
      HOERAUF INDIVIDUALLY, AND AS
      TRUSTEE OF THE AMBER
      HOERAUF TRUST AND THE
      MATHEW HOERAUF TRUST;
      LEASE SUPERVISORS, LLC;
      DEANNA K. HOERAUF; O’RYAN
      PRODUCTION & EXPLORATION, LTD.;
      O’RYAN OREGON RANCHES, LLC;
      O’RYAN RANCHES, LTD.; O’RYAN
      RANCHES, LLC; RYAN PROPERTIES,
      INC.; O’RYAN MISSION, LTD.; RYAN
      MISSION, INC.; RYAN E&P
      MANAGEMENT, INC.; O’RYAN

  1
           The debtors in the chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
           number, if any, are: Scanrock Oil & Gas, Inc. (0380); EON Production, LLC (0136); O’Ryan Family Limited
           Partnership (1913); O’Ryan Production & Exploration Ltd. (9950); O’Ryan Ponderosa, LLC (1476); Ryan
           C. Hoerauf, Inc. (0493); and Smackover Oil Treaters, Ltd. (9529); O’Ryan Ranches, Ltd. (7184); O’Ryan
           Ranches, LLC (6467); and O’Ryan Oregon Ranches, LLC. The location of the debtors’ service address is
           8180 Lakeview Center, Ste. 300, Odessa, TX 79765. More information about the debtors, and copies of
           pleadings in the above-captioned bankruptcy case, may be obtained on the website of the debtors’ proposed
           noticing agent, Stretto, Inc., at: https://cases.stretto.com/scanrock.
  {00850045.DOCX - ver}

  ORDER GRANTING EMERGENCY MOTION TO TRANSFER VENUE TO NORTHERN DISTRICT OF TEXAS,
  FORT WORTH DIVISION – Page 1
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   PONDEROSA, LLC; EON PRODUCTION,
   LLC; SCANROCK OIL & GAS, INC.;
   SMACKOVER OIL TREATERS, LTD.;
   AND SAGE FOUNTAIN HILLS
   PARTNERS, LLC

         Defendants.

                                  CONSOLIDATED WITH

                                  CAUSE NO. CV57838

   ARNOLD OIL COMPANY FUELS, LLC,          §
                                           §   ADVERSARY PROCEEDING
         Plaintiff,                        §   NO: 25-01020-cgb
                                           §
   v.                                      §
                                           §
   RYAN DRILLING, LLC; O’RYAN              §   Removed from the 385th Judicial
   HEAVY HAUL, LLC; O’RYAN                 §   District Court for Midland County Texas,
   FAMILY LIMITED PARTNERSHIP;             §   Cause No. CV57838
   RYAN C. HOERAUF, INC. d/b/a
   O’RYAN OIL & GAS; RYAN C.
   HOERAUF INDIVIDUALLY, AND AS
   TRUSTEE OF THE AMBER
   HOERAUF TRUST AND THE
   MATHEW HOERAUF TRUST;
   LEASE SUPERVISORS, LLC;
   DEANNA K. HOERAUF; O’RYAN
   PRODUCTION & EXPLORATION, LTD.;
   O’RYAN OREGON RANCHES, LLC;
   O’RYAN RANCHES, LTD.; O’RYAN
   RANCHES, LLC; RYAN PROPERTIES,
   INC.; O’RYAN MISSION, LTD.; RYAN
   MISSION, INC.; RYAN E&P
   MANAGEMENT, INC.; O’RYAN
   PONDEROSA, LLC; EON PRODUCTION,
   LLC; SCANROCK OIL & GAS, INC.;
   SMACKOVER OIL TREATERS, LTD.;
   AND SAGE FOUNTAIN HILLS
   PARTNERS, LLC

         Defendants.




  NOTICE OF APPEARANCE – Page 2
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                                         CONSOLIDATED WITH

                                           CAUSE NO. CV54833

   O’RYAN HEAVY HAUL, LLC,                               §
                                                         §    ADVERSARY PROCEEDING
           Plaintiff,                                    §    NO: 25-01020-cgb
                                                         §
   v.                                                    §
                                                         §
   ARNOLD OIL COMPANY OF AUSTIN,                         §    Removed from the 385th Judicial
   L.P. AND IRONPLANET, INC.                             §    District Court for Midland County Texas,
                                                         §    Cause No. CV54833
           Defendants.

             NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

          PLEASE TAKE NOTICE that the undersigned hereby appears as the attorney of record for Well

  Castle Limited, Arnold Oil Company Fuels, LLC and Arnold Oil Company of Austin, L.P., parties to this

  removed adversary proceeding. Pursuant to Bankruptcy Rules 2002 and 9010, the undersigned hereby

  requests notice of all matters which may come before the Court, including all notices and all papers served

  concerning the above-named Debtors, and requests that such notices be addressed to the following:

                                           Todd J. Johnston
                                           McWhorter, Cobb & Johnson, LLP
                                           P. O. Box 2547
                                           Lubbock, Texas 79408
                                           (806) 762-0214
                                           (806) 762-8014 fax
                                           tjohnston@mcjllp.com                                       ;

          PLEASE TAKE FURTHER NOTICE that this request includes not only the notices and papers

  referred to in the Bankruptcy Rules specified above, but also includes without limitation, all orders and

  notices of any application, motion, petition, pleading, requests, complaint, or demand, statement of affairs,

  operating reports, schedules of assets and liabilities, whether formal or informal, whether written or oral,

  and whether transmitted or conveyed by mail, courier service, hand delivery, telephone, facsimile

  transmission, telegraph, index, email or otherwise.




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                                                   Respectfully submitted,

                                                   McWHORTER, COBB & JOHNSON, L.L.P.
                                                   1722 Broadway (79401)
                                                   P.O. Box 2547
                                                   Lubbock, Texas 79408
                                                   806-762-0214 - Telephone
                                                   806-762-8014 - Facsimile

                                                   By:     /s/ Todd J. Johnston
                                                       Todd J. Johnston; SBN 24050837
                                                   Attorneys for Well Castle Limited, Arnold Oil Company
                                                   Fuels, LLC and Arnold Oil Company of Austin, L.P.


                                      CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a copy of the foregoing was served via electronic and/or U.S.
  Mail this 16th day of May 2025, upon all parties entitled to such notice as provided by the ECF filing
  system.


                                                              /s/ Todd J. Johnston
                                                                   Todd J. Johnston




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